         Case 1:20-cv-11889-MLW Document 64 Filed 02/26/21 Page 1 of 2
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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                              CASE No. 1:20-CV-11889-MLW

Dr. SHIVA AYYADURAI                     )
            Plaintiff,                  )
                                        )
                 v.                     )
                                        )
WILLIAM FRANCIS GALVIN,                 )
MICHELLE K. TASSINARI,                  )
DEBRA O’MALLEY,                         )             JURY DEMANDED
AMY COHEN,                              )
NATIONAL ASSOCIATION OF )
STATE ELECTION DIRECTORS, )
all in their individual capacities, and )
WILLIAM FRANCIS GALVIN,                 )
in his official capacity as Secretary )
of State for Massachusetts,             )
                 Defendants.            )

                             MOTION FOR JOINDER
                AND LEAVE TO FILE A SECOND AMENDED COMPLAINT

On February 19, 2021, this court ordered the Plaintiff to consider adding Twitter Inc., a

Delaware Corporation, as a defendant in this case, because it was “questionable whether the

court may grant plaintiff complete relief on his Motion if Twitter is not a party to this case. Such

relief may also implicate Twitter's interests, which could be impaired in its absence.”

        Plaintiff hereby files this motion for joinder and leave to amend his complaint in order to

add Twitter as a defendant and add claims against Twitter. Based on the accompanying affidavit

and memorandum of law, the motion must be granted.

        Respectfully submitted under the pains and penalties of perjury,

                                                      /s/ Dr. Shiva Ayyadurai
                                                      _____________________
                                                      Dr. Shiva Ayyadurai
                Date: February 26, 2021               Plaintiff, pro se
                                                      701 Concord Ave,


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         Case 1:20-cv-11889-MLW Document 64 Filed 02/26/21 Page 2 of 2
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                                                    Cambridge, MA 02138
                                                    Phone: 617-631-6874
                                                    Email: vashiva@vashiva.com


                                     CERTIFICATE OF SERVICE
        Plaintiff certifies that he served this motion, memorandum and affidavit upon Defendants
via their counsel via ECF.
        Respectfully submitted under the pains and penalties of perjury,

                                                    /s/ Dr. Shiva Ayyadurai
                                                    _____________________
               Date: February 26, 2021              Dr. Shiva Ayyadurai
                                                    Plaintiff, pro se
                                                    701 Concord Ave,
                                                    Cambridge, MA 02138
                                                    Phone: 617-631-6874
                                                    Email: vashiva@vashiva.com


                        CERTIFICATE OF CONFERRAL PER LR 7.1

Plaintiff certifies that he conferred with counsel for Galvin, Tassinari and O’Malley on this
motion and these Defendants declared that they had no position, for or against, this motion for
joinder and leave to amend. Plaintiff further certifies that he conferred with counsel for Cohen
and NASED and these Defendants indicated that they would oppose this motion when filed.
Counsel for Cohen and NASED also informed Plaintiff that Twitter is immune per Section 230.

       Respectfully submitted under the pains and penalties of perjury,

                                                    /s/ Dr. Shiva Ayyadurai
                                                    _____________________
               Date: February 26, 2021              Dr. Shiva Ayyadurai
                                                    Plaintiff, pro se
                                                    701 Concord Ave,
                                                    Cambridge, MA 02138
                                                    Phone: 617-631-6874
                                                    Email: vashiva@vashiva.com




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